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U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
. I Courthouse Way
Suite 9200
‘Boston, Massachusetts 02210

February 9, 2021
Derege Demissie, Esq.
Demissie & Church
929 Massachusetts Avenue, Suite 01
Cambridge, MA 02139

Young Paik, Esq.

Paik, Brewington & Deal
6 Beacon Street, Suite 305
Boston, MA 02108

Re: United States v. Justin Capell
Criminal No.

Dear Messrs. Demissie and Pailc,

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Justin Capell (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B): ©

1. Change of Plea

Defendant will waive Indictment and plead guilty to Count One of the Information
charging Conspiracy to Commit Visa Fraud, in violation of 18 U.S.C. § 371 (Count One).
Defendant admits that he committed the crime specified in this count and is in fact guilty.

The U.S. Attorney agrees not to charge Defendant with aggravated identity theft in
violation of 18 U.S.C. § 1028A based on conduct underlying the crime charged in this case that is
known to the U.S. Attorney at this time.

 

 
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2. Penalties

Defendant faces the following maximum penalties: incarceration for five years, supervised
release for three years, a fine of $250,000 or twice the gross gain or loss, whichever is greater, a
mandatory special assessment of $100, restitution, and forfeiture to the extent charged in the
Information. ,

Defendant understands that, if he is not a United States citizen who was born in the United
States, pleading guilty may affect Defendant’s immigration status. Defendant agrees to plead
guilty regardless of any potential immigration consequences, even if Defendant’s plea results in
being automatically removed from the United States.

3. Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 17:

a) Defendant’s base offense level for Count One is 11 (USSG 8§ 2X1.1(a); 2L2.1);

b) Defendant’s offense level is increased by 9, because the offense involved 100
or more documents (USSG § 21L.2.1(b)(2)(C)); and

c) Defendant’s total adjusted offense level is decreased by 3, because Defendant
has accepted responsibility for Defendant’s crimes (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if (a) at sentencing, Defendant (him or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crime(s) to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

 

 
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4. Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration at the low end of the Guidelines sentencing range as calculated. by
the parties in Paragraph 3;

b) 24 months of supervised release;

c) amandatory special assessment of $100, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

d) forfeiture as set forth in Paragraph 6.
5, Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court’) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) He will not challenge his conviction on direct appeal or in any other proceeding,
including in a separate civil lawsuit; and

b) He will not challenge his sentence, including any court orders related to
forfeiture, restitution, fines or supervised release, on direct appeal or in 1 any
other proceeding, including in a separate civil lawsuit.

 

Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in

the first place.

Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

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The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned. ,

6. Forfeiture

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charge
specified in Paragraph 1 of this Agreement.

. 8. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, violates any
condition of Defendant’s pre-trial release or commits any crime following Defendant’s execution
of this Plea Agreement, Defendant cannot rely upon sich conduct to withdraw his guilty plea.
Defendant’s conduct, however, would give the U.S. Attorney the right to be released from his
commitments under this Agreement, to pursue any charges that were, or are to be, dismissed under
this Agreement, and to use against Defendant any of Defendant’s statements, and any information
or materials he provided to the government during investigation or prosecution of his case—even
if the parties had entered any earlier written or oral agreements or understandings about this issue.

Defendant also understands that if he breaches any provision of this Agreement or engages
in any of the aforementioned conduct, he thereby waives any defenses based on the statute of
limitations, constitutional protections against pre-indictment delay, and the Speedy Trial Act, that
Defendant otherwise may have had to any charges based on conduct occurring before the date of
this Agreement.

9. Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

 

 
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10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open coutt.

* * *

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorneys Jordi de Llano and
Mackenzie Queenin.

Sincerely,

ANDREW E. LELLING
United States Attorney

. Cl Jordi: de Lane

STEPHEN E. FRANK

Chief ,
Securities, Financial & Cyber Fraud Unit
JORDI DE LLANO

SETH B. KOSTO

Deputy Chiefs

Securities, Financial & Cyber Fraud Unit

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MACKENAE A. QUEENIN
Assistant U.S. Attorney

 

 

 
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. ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter and discussed it with my attorneys. The letier accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

T understand the crime I am pleading guilty to, and the maximum penalty for that crime. I
have discussed the Sentencing Guidelines with my lawyers and I understand the sentencing ranges
that may apply.

I am satisfied with the legal representation my lawyers has given me and we have had.
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

lam entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offense. I believe this Agreement is in my best interest.

JUS TES-CAPELL
Yefendant

Date: 2/12/7202]

 

‘ I certify that Justin Capell has read this Agreement and that we have discussed what it
means. I believe Justin Capell understands the Agreement and is entering into it freely, voluntarily,
and knowingly. I also certify that the U.S. Attorney has not extended any other offers regarding a
change of plea in this case.

 

' DEREGEDSEMISSIE, ESO.
YOUNG PAIK, ESQ.
Attorneys for Defendant

Date: 2 /\ 2/2

 

 
